Case 0:18-cv-60403-KMM Document 18 Entered on FLSD Docket 05/25/2018 Page 1 of 2



                                      UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                      ) 
      ABS-CBN CORPORATION                             ) 
                                                      ) 
      ABS-CBN FILM PRODUCTIONS d/b/a                  ) 
      STAR CINEMA, and                                ) 
      ABS-CBN INTERNATIONAL                           ) 
                                                      )      Civil Action No. 0:18-cv-60403-KMM
                  Plaintiff(s),                       ) 
                    v.
                                                      )
                                                      ) 
                                                      ) 
      ANGPROBINSYANO1.COM, et al.,                    ) 

                 Defendant(s).

                                        SUMMONS IN A CIVIL ACTION

      To: (Defendant’s name and        pinoyteleseryetambayan.com, an Individual,
      address)                         Partnership or Unincorporated Association
                                       4380 Gannet Cir, Unit 28
                                       Las Vegas, Nevada, 89103
                                       Tel: 702-788-7079


  A lawsuit has been filed against you.
          Within 21 days after service of this summons on you (not counting the day you received it) — or
  60 days if you are the United States or a United States agency, or an officer or employee of the United
  States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the
  attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
  motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:
                      Stephen M. Gaffigan/STEPHEN M. GAFFIGAN, P.A.
                      401 East Las Olas Blvd., #130-453
                      Ft. Lauderdale, Florida 33301
                      E-mail: stephen@smgpa.net

         If you fail to respond, judgment by default will be entered against you for the relief demanded in
  the complaint. You also must file your answer or motion with the court.



                      May 25, 2018
         Date:
                                                                                s/ J. Adams




   
                                                                                              s/ J. Adams
Case 0:18-cv-60403-KMM Document 18 Entered on FLSD Docket 05/25/2018 Page 2 of 2
